          Case 1:14-cv-14176-ADB Document
                         UNITED STATES    675 Filed
                                       DISTRICT     10/07/19 Page 1 of 2
                                                 COURT
                                  DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                     Students for Fair Admissions, Inc. v. President and Fellows of Harvard College et al
                                  __________________________________________________________

District Court Number:            14cv14176-ADB
                                  __________________________________________________________


Fee:    Paid?        X
                 Yes ____ No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


Motions Pending                       X
                          Yes ____ No ____                    Sealed documents                  X
                                                                                          Yes ____      No ____
If yes, document #        _______________                     If yes, document #          (see attached addendum)
                                                                                          _______________

Ex parte documents                    X
                          Yes ____ No ____                    Transcripts                       X
                                                                                          Yes ____     No ____
If yes, document #        _______________                     If yes, document #          (see attached addendum)
                                                                                          _______________


                                                X
Notice of Appeal filed by: Plaintiff/Petitioner ____   Defendant/Respondent ____ Other: ____

Appeal from:
#672 Findings of Fact and Conclusions of Law, #673 Judgment
Other information:




        I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
hereby certify that the annexed electronic documents:

#672, #673, and #674
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
the Notice of Appeal # ________
                        674        filed on__________________.
                                           October 4, 2019


                                                                                         October 7, 2019
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                              ROBERT M. FARRELL
                                                              Clerk of Court


                                                              /s/Matthew A. Paine
                                                              ____________________________
                                                              Deputy Clerk




COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


                           PLEASE RETURN TO THE USDC CLERK’S OFFICE
        Case 1:14-cv-14176-ADB Document 675 Filed 10/07/19 Page 2 of 2



SEALED DOCUMENTS:

68,69,80,81,122,127,133,134,140,145,162,163,168,169,195,198,202,203,204,205,207,208,
214,219,220,221,224,225,226,227,233,234,235,241,242,247,248,255,256,257,260,261,262,
266,273,274,284,285,286,287,289,290,296,297,308,309,310,313,317,326,328,330,333,344,
347,348,352,356,361,367,368,373,374,381,383,413,420,421,427,435,437,438,449,452,454,
487,497,548,552,553,556,569,570,603,620

TRANSCRIPTS:

43,84,128,143,152,173,193,195,384,402,582,583,631,632,633,634,635,636,637,638,639,
640,641,642,643,644,645,646,647,648,649,650,651,652,653,654,655,656,657,666
